                 Case: 1:14-cr-00564 Document #: 101 Filed: 11/21/16 Page 1 of 9 PageID #:641
                                                                                                                                           U,,f0'


                                UNITED STATES DISTRICT COURT
                                                         Northern District of Illinois


               UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                          v.

               MOHAMMED HAMZAH KHAN                                                Number:
                                                                                Case                 14-CR-00564

                                                                                USM Number:          46673-424



                                                                               Thomas Anthony Durkin
                                                                               Defendant's Attomey


THE DEFENDANT:
I   pleaded guilty to count(s) Count   I of the Indictmenr.
n                           count(s) which was accepted by the court.
    pleaded nolo contendere to
!   was found guilty on count(s) after a plea of not guilty.
The defendant is adjudicated guilty ofthese offenses:
Title & Section                        Nature of Offense                                                 Offense Ended             Count
l8 U.S.C. $ 233eB(a)(l)                Attempt to Provide Material Support to a Foreign Terrorist        t0/4/2014                   One
                                       Organization




The defendant is sentenced as provided in pages 2 through 8 ofthisjudgment. The sentence is imposed pursuant to the Sentencing Reform
Act of 1984.
I fle defendant has been found not guilty on count(s)
! Count(s) dismissed on the motion of the United States.
It is ordered that the defendant must notifu the United States Attorney for this District within 30 days of any change of name, residence, or
mailing address until all fines, restitutiono costs, and special assessments imposed by this judgment are fully paid. lf ordered to pay
restitution, the defendant must nodry the court and United States Attorney of material changes in economii iircumstances.


                                                                                   1t/18/16




                                                                                  John J. Tharp, Jr., United States
                                                                                  Name and Title of Judge
               Exhibit C


                        Case 2:16-cr-00175-LA Filed 02/16/19 Page 1 of 9 Document 99-2
                   Case: 1:14-cr-00564 Document #: 101 Filed: 11/21/16 Page 2 of 9 PageID #:642
ILND 2458 (Rev. 08/02120.16) Judgment in   a   Criminal Case
   - Imprisonment
Sheet 2                                                                                                                        Judement-Pase2of9
DEFENDANT: MOHAMMED HAMZAH KHAN
CASENUMBER: l4-CR-00564
                                                               IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
40 months.

I    fne court makes the following recommendations to the Bureau of Prisons: Designation to the Metropolitan Correctional Center,
     Chicago.

fi   fne defendant is remanded to the custody of the United      States Marshal.

!    tre   defendant shall surrender to the United States Marshal for this district:

           Eut           on

     E     ut notified by the United States Marshal.

     n     fne defendant shall surrender for service ofsentence    at the institution designated by the Bureau ofPrisons:

           I    before 2:00 pm on

           n    u, notified by the United States Marshal.

           E    ur notified by the Probation or Pretrial Services Office.




                                                                    RETURN

I have executed this judgment as follows:




Defendant delivered on                                                      al                                    , with a certified copy of this
judgment.




                                                                                        UNITED STATES MARSHAL


                                                                                   By
                                                                                        DEPUTY UNITED STATES MARSHAL




                          Case 2:16-cr-00175-LA Filed 02/16/19 Page 2 of 9 Document 99-2
                     Case: 1:14-cr-00564
ILND 2458 (Rev. 08/0212016) Judgment in
                                   a Criminal
                                              Document #: 101 Filed: 11/21/16 Page 3 of 9 PageID #:643
                                                 Case
    - Supervised Release
Sheet 3                                                                                                                     Judgment   -   Page 3 of 9
DEFENDANT: MOHAMMED HAMZAH KHAN
CASE NUMBER: l4-CR-00564

            MANDATORY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO                                                   18 U.S.C S 35S3(d)

U,po_nrelease    fiom imprisonment, you shall   be on supervised release for a term of:
ffi1,ffi.
         You must report to the probation office in the district to which you are released withinT2 hours of release from the custody of the
Bureau of Prisons. The court imposes those conditions identified by checkmarks below:

During the period ofsupervised release:
X (l ) you shall not commit another Federal,            State, or local crime.
X     (2) you shall not unlawfully possess a controlled substance.
tr    (3) you shall attend a public, private, or private nonprofit offender rehabilitation program that has been approved by the court, if
             an approved program is readily available within a 50-mile radius of your legal residence. [Use for a first conviction of a
             domestic violence crime, as defined in $ 3561(b).]
n     (4)    you shall register and comply with all requirements of the Sex Offender Registration and Notification Act (42 U.S.C. $
             r6913).
x     (5)    you shall cooperate in the collection of a DNA sample if the collection of such a sample is required by law.
tr    (6)    you shall refrain from any unlawful use of a controlled substance AND submit to one drug test within l5 days of release on
             supervised release and at least two periodic tests thereafter, up to I 04 periodic tests for use of a conffolled substance during
             each year of supervised release. [This mandatory condition may be ameliorated or suspended by the court for any defendant
             if reliable sentencing information indicates a low risk of future substance abuse by the defendant.]


    DISCRETIONARY CONDITIONS OF SUPERVTSED RELEASE PURSUANT TO 18 U.S.C g 3s63(b) AND
                                                                   18 U.S.C S 3s83(d)

Discretionary Conditions        The court orders that you abide by the following conditions during the term of supervised release because such
                             -
conditions are reasonably related  to the factors set forth in $ 3553(aXl) and (aX2XB). (C). and (D): such conditions involve only such
deprivations of liberty or property as are reasonably necessary for the purposes indicated in $ 3553 (aX2) (B). (O. and (D): and such
conditions are consistent with any pertinent policy statement issued by the Sentencing Commission pursuant to 28 U.S.C. 994a.
The court imposes those conditions identified by checkmarks below;

During the period of supervised release:
tr    (l)       you shall provide financial support to any dependents iffinancially able.
tr    Q)        you shall make restitution to a victim of the offense under $ 3556 (but not subject to the limitation of $ 3663(a) or
                g   3663A(cXlXA)).
tr    (3)       you shall give to the victims of the offense notice pursuant to the provisions of $ 3555, as follows: , .-.
X     @)        you shall seek, and work conscientiously at, lawful employment or pursue conrii"rtiously a course of ituay o.
                vocational training that will equip you for employment.
n     (5)       you shall refrain flom engaging in a specifiedociupation, business, or profession bearing a reasonably direct relationship
                to the conduct constituting the offense, or engage in such a specified occupation, busin-e--ss, or profession only to a stated
                degree or under stated circumstances; (ifchecked yes, please indicate restriction(s)) , .
X     (6)       you shall refrain from knowingly meeting or communiiating with any person *t o- you tnow to be engaged, or
                planning to be engaged, in criminal activity and from:
                ! visiting the following type of places: .%H.
                                                                                                                      #$$                   tffi
                      lh
                     :s;i

no)            you shall refrain from
               than 0.08; or !
                                          ! any or!   excessive use ofalcohol (defined as  l]   t iuing a Otooa itCotroi iorC"ri.iiio, gi"ut".
                                        ), or any use of a narcotic drug or other controlled substancE, as defined in $ 102 of the Controlled
               Substances Act (21 U.S.C. S 802), without a prescription by a licensed medical practitioner.
X     (8)      you shall refiain from possessing a firearm, destructive device, or other dangerous weapon.
X     (e)      E you shall participate, at the direction of a probation officer, in a substance abuse treatment program, which may
                    include urine testing up to a maximum of 104 tests per year.
               x   you shall participate, at the direction of a probation officer, in a mental health treatment program, which may include
                   the use of prescription medications.

                            Case 2:16-cr-00175-LA Filed 02/16/19 Page 3 of 9 Document 99-2
                      Case: 1:14-cr-00564
 ILND 2458 (Rev. 08/0212016) Judgment in
                                               Document #: 101 Filed: 11/21/16 Page 4 of 9 PageID #:644
                                    a Criminal Case
    - Supervised Release
Sheet 3                                                                                                                        Judgment-Page4of9
DEFENDANT: MOHAMMED HAMZAH KHAN
CASE NUMBER: l4-CR-00564
            f] yo, shall participate, at the direction of a probation        ofTicer, in medical care; (if checked yes, please specifo: ,,.J;M;".)
 n (10) (intermittent            confinement):.you shall remain in the custody of the Bureau of Prisons during nighti, weekends, o. othe.
                  intervals of time, totaling ff:@ [no more than the lesser of one year or the term of imprisonment authorized for the
                 offense], during the first year ofthe term ofsupervised release (provided, however, that a condition set forth in $
                 3563(bxl0) shall be imposed only for a violation of a condition_o_f,supervised release in accordance with g 3583(e)(2)
                 and only when facilities are available) for the following period :!tti1l;?..L!|ffi.
tr     (l   l)   (community confinement): you shall reside at, or partiCipate in ifre piogram of a community corrections facility
                 (including a facility ma-igj'qjled or under contract to the Bureau of Prisons) for all or part of the term of supervised
                 release, for a period of "ffiil' months.
X Q4             you shall work in community service for {ffi hours per year, for the first five years of supervised release, as directed by a
                 probation officer.
F (13)           you shall reside in the following place or area:'ffi1 , or refrain from residing in a specified place or area:l s.1.* ..
X (14)           you shall remain within the jurisdiction where you are being supervised, unless g.arted permission to leavi Uy il.,e court
                 or a probation officer.
X      (15)      you shall report to a probation officer as directed by the court or a probation officer.
X      (16)      X you shall permit a probation officer to visit yo, X at any riasonable time or as        !      specified:       ,
                          I   at home             I     at work                X at school                  X at a community service location
                          X other reasonable location specified by a probation officer
                 X you shall permit confiscation ofany contraband observed in plain view ofthe probation officer.
X      07)       you shall notifo a probation officer promptly, withinT2hours, of any change in residlnce, employer, or workplace and,
                 absent constitutional or other legal privilege, answer inquiries by a probation officer.
E      (18)      you shall notify a probation offiier prompily, within 72 hours, iiarrested or questioned by a law enforcement officer.
tr     (19)      (home confinement): you shall remain at your place of residence for a total oiH##,-.- rnorth, during nonworking hours.
                 [This condition may be imposed only as an alternative to incarceration.]
                 !       Compliance with this condition shall be monitored by telephonii or electronic signaling devices (the selection of
                         which shall be determined by a probation offrcer). Electronic monitoring shall ordinarily be used in connection
                         with home detention as it provides continuous monitoring of your whereabouts. Voice identification may be used
                         in lieu of electronic monitoring to monitor home confinement and provides for random monitoring of your
                         whereabouts. If the offender is unable to wear an electronic monitoring device due to health or medical reasons, it
                         is recommended that home confinement with voice identification be ordered, which will provide for random
                         checks on your whereabouts. Home detention with electronic monitoring or voice identification is not deemed
                         appropriate and cannot be effectively administered in cases in which the offender has no bona fide residence, has a
                         history of violent behavior, serious mental health problems, or substance abuse; has pending criminal charges
                         elsewhere; requires frequent travel inside or outside the districU or is required to work more than 60 hours per
                        week.
                 tr     You shall pay the cost of electronic monitoring or voice identification at the daily conffactual rate, if you are
                        financially able to do so.
                 tr The Court waives the electronic/location monitoring component of this condition.
tr    Qq         you shall comply with the terms of any court order or orde*r of an administrative process pursuant to the law of a State,
                 the District of Columbia, or any other possession or territory of the United States, requiring payments by you for the
                 support and maintenance of a child or of a child and the parent with whom the child is living.
tr    Ql)        (deportation); you shall be surrendered to a duly authorized official of the Homeland Security Department for a
                 determination on the issue of deportability by the appropriate authorify in accordance with the laws under the
                 Immigration and Nationality Act and the established implementing regulations. If ordered deported, you shall not
                 reenter the United States without obtaining, in advance, the express written consent of the Attorney General or the
                 Secretary of the Department of Homeland Security.
X     Q2)        you shall satisfu such other special conditions as ordered below.
X     Q3)        you shall submit at any time, with or without a warrant, to a search of the defendant's person and any property, house,
                 apartment, residence, vehicle, records, computer, electronic communication devices or data storage devices or electronic
                 media (e.g. phones, tablets, computers, or devices with internet access or communication capabilities), social media
                 accounts, elecffonic communications accounts, email accounts, or other electronic communication accounts, by any
                 probation officer (or law enforcement officer at the request of the U.S. Probation Office) having reasonable suipicion
                 concerning a violation of a condition of supervised release or a violation of state or federal law, while in the lawful
                 discharge of the offi cer's supervision functions.
n Qq             other:

SPECIAL CONDITIONS OF SUPERVISED RELEASE PURSUANT TO 18 U.S.C. 3s63(b)(22) and 3sS3(d)
The court imposes those conditions identified by checkmarks below:



                              Case 2:16-cr-00175-LA Filed 02/16/19 Page 4 of 9 Document 99-2
                   Case: 1:14-cr-00564 Document #: 101 Filed: 11/21/16 Page 5 of 9 PageID #:645
ILND 2458 (Rev. 08/0212016) Judgment in aCriminal Case
    - Supervised Release
Sheet 3                                                                                                                 Judgment- Page 5 of9
DEFENDANT: MOHAMMED HAMZAH KHAN
CASE NUMBER: l4-CR-00564
During the term ofsupervised release:
tr (l) if you have not obtained a high school diploma or equivalent, you shall participate in a General Educational
              Development (GED) preparation course and seek to obtain a GED within the first year of supervision.
 x    (2)     you shall participate in an approved job skill-training program at the direction of a probation officer within the first 60
              days of placement on supervision unless the defendant is registered as a full-time student pursuing an associate degree,
              bachelor's degree, graduate degree, or vocational training.
x     (3)     you shall, if unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or lay-off
              from employment, perform at least 20 hours of community service per week at the direction of the U.S. Probation Office
              until gainfully employed. These 20 hours are in addition to the 120 hours of community service the defendant must
              complete each year of supervised release, and will only be imposed if the defendant is unemployed as described above,
              and ifthe defendant is not pursuing an associate degree, bachelor's degree, graduate degree, or vocational training on a
              full time basis.
tr    (4)     you shall not maintain employment where you have access to other individual's personal information, including, but not
              limited to, Social Security numbers and credit card numbers (or money) unless approved by a probation officer.
tr    (5)     you shall not incur new credit charges or open additional lines of credit without the approval of a probation officer unless
              you are in compliance with the financial obligations imposed by this judgment.
x     (6)     you shall provide a probation officer with access to any requested financial information necessary to monitor compliance
              with conditions of supervised release.
tr    (7)      you shall notify the court of any material change in your economic circumstances that might affect your ability to pay
               restitution, fines, or special assessments.
tr    (8)     you shall provide documentation to the IRS and pay taxes as required by law.
n     (9)     you shall participate in a sex offender treatment program. The specific program and provider will be determined by a
              probation officer. You shall comply with all recommended treatment which may include psychological and physioiogical
              testing. You shall maintain use of all prescribed medications.
               n You shall comply with the requirements of the Computer and Internet Monitoring Program as administered by the
                        United States Probation Office. You shall consent to the installation of computer monitoring software on all
                        identified computers to which you have access. The software may restrict and/or record any and all activity on the
                        computer, including the capture of keystrokes, application information, Internet use history, email
                        correspondence, and chat conversations. A notice will be placed on the computer at the time of installation to
                       warn others of the existence of the monitoring software. You shall not remove, tamper with, reverse engineer, or
                        in any way circumvent the software.
              tr The cost of the monitoring shall be paid by you at the monthly contractual rate, if you are financially able, subject
                       to satisfaction of other financial obligations imposed by this judgment.
              !        You shall not possess or use any device with aicess to any online computer service at any location (including
                       place of employment) without the prior approval of a probation officer. This includes any Internet service
                       provider, bulletin board system, or any other public or private network or email system.
              tr You shall not possess any device that could bi used foi covert photography without the prior approval ofa
                       probation officer.
              t] You shall not view or possess child pornography. If the treatment provider determines that exposure to other
                       sexually stimulating material may be detrimental to the treatment process, or that additional conditions are likely
                       to assist the treatment process, such proposed conditions shall be promptly presented to the court, for a
                       determination, pursuant to l8 U.S.C. $ 3583(e)(2), regarding whether to enlarge or otherwise modi$, the
                       conditions of supervision to include conditions consistent with the recommendations of the treatment provider.
              tr You shall not, without the approval of a probation officer and treatment provider, engage in activities that will put
                      you in unsupervised private contact with any person under the age of 18, or visit localions where children
                       regularly congregate (e.g., locations specified in the Sex_O-ffender Registration and Notification Act.)
              tr       This condition does notipply to your family members: Wff..ffitNameil
              n        Your employment shall be restricted to the district and aivliion where you reside or are supervised, unless
                      approval is granted by a probation officer. Prior to accepting any form of employmentyou ihall seek the approval
                      ofa probation officer, in order to allow the probation officer the opportunity io aisess the level ofrisk to the
                      community you will pose if employed in a particular capacity. You shall not participate in any volunteer activity
                      that may cause you to come into direct contact with children except under circumstances approved in advance by
                      a probation officer and treatment provider.
             tr You shall provide the probation officer with copies of your telephone bills, all credit card statements/receipts, and
                      any other financial information requested.
             n        You    shall comply with all state and local laws pertaining to convicted sex offenders, including such laws that
                      impose restrictions beyond those set forth in this order.
tr   (10)    you shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement of the
             term of supervised release. Your monthly payment schedule shall be an amount thai is at least $               orWliBN ot
                          Case 2:16-cr-00175-LA Filed 02/16/19 Page 5 of 9 Document 99-2
                          Case: 1:14-cr-00564
ILND 2458 (Rev. 08/0212016) Judgment in
                                              Document #: 101 Filed: 11/21/16 Page 6 of 9 PageID #:646
                                        a                  Criminal Case
    - Supervised Release
Sheet 3                                                                                                                       Judgment   -   Page 6 of 9
DEFENDANT: MOHAMMED HAMZAH KHAN
CASE NUMBER: 14-CR-00564
                     your net monthly income, defined as income net of reasonable expenses for basic necessities such as food, shelter,
                     utilities, insurance, and employment-related expenses.
X (l l)              except as provided in (14) below, you shall not enter into any agreement to act as an informer or special agent of a law
                     enforcement agency without the permission of the court. Any proactive cooperation on the part of the defendant must be
                     approved by the court.
tr    02)            you shall repay the United States "buy money" in the amount of $           which you received during the commission of
                     this offense.
n     (13)           if the probation officer determines that you pose a risk to another person (including an organization or members of the
                     community), the probation officer may require you to tell the person about the risk, and you must comply with that
                     instruction. Such notification could include advising the person about your record ofarrests and convictions and
                     substance use. The probation officer may contact the person and confirm that you have told the person about the risk.
x     qg.,
      :   it.::!;&
                     Other:
                     Coasistent with the t0rms of his plea ryqfore4fi.**a,
                     es U.S, .@ryey's                  @ff
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                                   Case 2:16-cr-00175-LA Filed 02/16/19 Page 6 of 9 Document 99-2
                        Case: 1:14-cr-00564
ILND 2458 (Rev. 08/0212016) Judgrnent in
                                                 Document #: 101 Filed: 11/21/16 Page 7 of 9 PageID #:647
                                      a Criminal Case
Sheet 3   -   Supervised Release                                                                   Judgment-Page7of9
DEFENDANT: MOHAMMED HAMZAH KTIAN
CASENUMBER: 14-CR-00564




                                   Case 2:16-cr-00175-LA Filed 02/16/19 Page 7 of 9 Document 99-2
                    Case: 1:14-cr-00564 Document #: 101 Filed: 11/21/16 Page 8 of 9 PageID #:648
ILND 2458 (Rev. 08/0212016) Judgment in   a   Criminal Case
Sheet 5 - Criminal Monetary Penalties                                                                                              Judsment-Pase8of9
DEFENDANT: MOHAMMED HAMZAH KHAN
CASE NUMBER: l4-CR-00564
                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                                  Assessment                                                   Fine                       Restitution
                                  s 100                                                        $0                         $N/A


!    fne determination of restitution is deferred until              . An AmendedJudgment in a Criminal Case 1lo   zlscl will   be entered after such
     determination.

f]   fne defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. S 3664(D, all nonfederal victims must be paid
     before the United States is paid.

     Name of Payee                                            Total Loss*            Restitution Ordered                            Priority or
                                                                                                                                    Percentase




                                                  Totals:

     n         Restitution amount ordered pursuant to plea agreement $

     tr        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
               the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. S 3612(f). All of the payment options on Sheet 6 may be
               subject to penalties for delinquency and default, pursuant to l8 U.S.C. $ 36t2(g).

     n         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

               tr       the interest requirement is waived for the

               tr       the interest requirement for the             is modified as follows:

      tr       The defendant's non-exempt assets, if any, are subject to immediate execution to satisfu any outstanding restitution or fine
               obligations.


* Findings for the total amount of losses are required under Chapters 109A, I10,
                                                                                 110A, and 1l3A of Title l8 for offenses committed on or
after September 13, 1994, but before April23, 1996.




                          Case 2:16-cr-00175-LA Filed 02/16/19 Page 8 of 9 Document 99-2
                    Case: 1:14-cr-00564 Document #: 101 Filed: 11/21/16 Page 9 of 9 PageID #:649
 ILND 2458 (Rev. 08/0212016) Judgment in   a   Criminal Case
 Sheet 6 - Schedule of Payments                                                                                                              Judgment-Page9of9
 DEFENDANT: MOHAMMED HAMZAH KHAN
 CASE NUMBER: 14-CR-00564
                                                           SCHEDULE OF PAYMENTS
 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      X      Lump sum payment of $100 due immediately.

               !         balance due not         laterthan        , or

               tr        balance due in accordance with          E   c,   n    D,   E   E, or   fln   below; or

Btr            Payment to begin immediately (may be combined with                   f]    C,   E      ! f below); or
                                                                                                   D, or

Ctr            Payment in
               commence
                             equal
                                    (e.9.,
                                                (e.g. weekly, monthly, quarterly)        installments of $
                                               j0 or 60 days) after the date of this judgment; or
                                                                                                              over aperiod of              (e.g., months   oryears),to


        tr     Payment in   equal               (e.g. weekly, monthly, quarterly) installments of          $          over a period of     (e.g., months or years),   to
               commence             (e.5., 30 or 60 days) after release       from imprisonment to         a   term of supervision; or

        tr     Payment during the term of supervised release will commence                      within
                                                                                          (e.g., 30 or 60 days) after release from imprisonment.
               The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

       n       special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
                                                                                                                                   due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

n      Joint and Several

Case   Number                                          Total Amount                      Joint and Several                Corresponding Payee,   if
Defendant and Co-Defendant Names                                                         Amount                           Appropriate
(including defendant number)



tr     The defendant shall pay the cost ofprosecution.

tr     The defendant shall pay the following court cost(s):

n      The defendant shall forfeit the defendant's interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.




                           Case 2:16-cr-00175-LA Filed 02/16/19 Page 9 of 9 Document 99-2
